                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MISSOURI
                                 SOUTHERN DIVISION



UNITED STATES OF AMERICA,                       )
Plaintiff                                       )
                                                )
vs.                                             )     Criminal No. 21-3067-01-CR-S-BCW
                                                )
DAVID PANBEHCHI                                 )
Defendant(s)                                    )

                            ORDER OF REFERENCE TO UNITED
                              STATES MAGISTRATE JUDGE

       The Indictment    filed in the above-styled case was filed in the Western District of

Missouri on the 19th day of May         , 2021 and assigned to the undersigned United States

District Judge.

       Pursuant to Section 636(b), Title 28, United States Code, and Rule 72.1 of the Local

Rules for the United States District Court for the Western District of Missouri, it is

       ORDERED that United States Magistrate Judge David P. Rush               is designated to hear

and determine all pretrial motions or matters now pending or later filed, except (1) a motion to

dismiss or quash the indictment, and (2) a motion to suppress evidence, in accordance with the

provisions of Section 636(b)(1)(A), Title 28, United States Code; and such pretrial motions or

matters now pending or later filed in this criminal action are referred to the Magistrate Judge to

hear and determine.

       Any party may appeal from the Magistrate Judge’s order determining a motion within

fourteen (14) days after issuance of the order unless a different time is prescribed by the

Magistrate Judge or the undersigned District Judge. Such party shall file with the Clerk




          Case 6:21-cr-03067-BCW Document 2 Filed 05/19/21 Page 1 of 3
of Court, and serve the Magistrate Judge and all parties, a written statement of the appeal which

shall specifically designate the order, or part thereof, appealed from and the basis for the appeal.

The undersigned District Judge will consider the appeal and set aside any portion of the

Magistrate Judge’s order found to be clearly erroneous or contrary to law. The undersigned

District Judge may reconsider sua sponte any motion determined by the Magistrate Judge. It is

further

          ORDERED that United States Magistrate Judge David P. Rush            is designated to hear

and process all pretrial motions to (1) dismiss or quash the indictment, and (2) suppress evidence,

now pending or later filed in accordance with the provisions of Section 636(b)(1)(B) and

(b)(1)(C), Title 28, United States Code; and all such pretrial motions now pending or later filed

are referred to the Magistrate Judge to hear and process. Any party may object to the Magistrate

Judge’s proposed finding and recommendations in respect to (1) a motion to dismiss or quash the

indictment, or (2) a motion to suppress evidence, within fourteen (14) days after being served

with a copy of the proposed findings and recommendations. Such party shall file with the Clerk

of Court, and serve the Magistrate Judge and all parties, written objections which shall

specifically identify the portion or portions of the proposed findings and recommendations to

which an objection is made and the basis for each objection.

          The undersigned District Judge will make a de novo determination of those portions of

the proposed findings and recommendations to which specific objections is made and may

accept, reject or modify, in whole or in part, the proposed findings or recommendations made by

the Magistrate Judge. The undersigned District Judge need not conduct a new hearing and may

consider only the record developed before the Magistrate Judge in making his de novo




            Case 6:21-cr-03067-BCW Document 2 Filed 05/19/21 Page 2 of 3
determination. The undersigned District Judge may receive further evidence, recall witnesses, or

recommit the motion to the Magistrate Judge with instructions. It is further

        ORDERED that the Magistrate Judge may, in his/her discretion, reassign any motions

 referred to him/her pursuant to this order, to another Magistrate Judge for processing and

 handling. In the event of such a reassignment, the Magistrate Judge to whom the motion is

 reassigned is designated to hear and determine or hear and process the motion in accordance

 with the provisions of this order.   It is further

        ORDERED with the consent of the parties, if directed by the undersigned District Judge,

 the Magistrate Judge may conduct guilty plea proceedings and make a recommendation to the

 District Judge.

                                                      s/ Brian C. Wimes
                                                      _____________________________________
                                                      United States District Judge
 Springfield, Missouri
          , Missouri

 Dated: 5/19/2021




           Case 6:21-cr-03067-BCW Document 2 Filed 05/19/21 Page 3 of 3
